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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 IN RE COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES, AND                            1:14-ml-2570-RLY-TAB
                                                            MDL No. 2570
 PRODUCT LIABILITY LITIGATION


 This Document Relates to: All Actions
 See Exhibit A and Exhibit B for Action Schedules


   ORDER ON THE COOK DEFENDANTS’ SECOND AMENDED MOTION TO
                             DISMISS
                        (Filing No. 10211)

        Pursuant to Federal Rule of Civil Procedure 41(b), the court hereby dismisses the

 cases listed on the attached Exhibits A and B for failure to comply with the court’s Order

 on the Cook Defendants’ Motion For Screening Order And Bellwether Selection Plan

 (Filing No. 9322) and Order Regarding Case Categorization and Census (Filing No.

 9638), entered on October 2 and November 21, 2018, respectfully. Exhibit A cases have

 no Case Categorization Form on file, and Exhibit B cases did not submit medical records

 in support of their Case Categorization Form. As to those cases, Cook’s Motion to

 Dismiss (Filing No. 10211) is GRANTED and the cases are dismissed without prejudice.

 These plaintiffs may refile their cases in MDL 2570, in the Southern District of Indiana,

 in the event a legally cognizable injury occurs in the future within the statute of

 limitations after that injury occurs. No Plaintiff listed in Exhibit A or Exhibit B,

 however, may refile his or her case if the future claim is based solely on one of the


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 injuries, complications, or outcomes identified by the plaintiff in his or her individual

 case in this court. To the extent that an allegedly cognizable injury occurs in the future,

 the case may be refiled in MDL 2570 under this Order on the basis of that future injury.

 If Plaintiff refiles his/her case in any jurisdiction other than the Southern District of

 Indiana, in MDL 2570, this dismissal will automatically convert to a dismissal with

 prejudice. All parties shall bear their own fees and costs.



 SO ORDERED this 8th day of May 2019.




 Distributed electronically to registered counsel of record.

 Service on all nonregistered counsel of record to be made by Plaintiffs’ Lead Counsel.




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 _________________________________________

 IN RE: COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES AND            1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION             MDL No. 2570
 _________________________________________


                                      EXHIBIT A

         SCHEDULE OF PLAINTIFFS THAT HAVE FAILED TO PRODUCE A
                        CATEGORIZATION FORM


            Plaintiff          Cause Number                 Lead Counsel
  Baylor, Sammy               1:16-cv-00542       BRANCH LAW FIRM
  Campbell, Kurt & Tarjsha    1:16-cv-00545       BRANCH LAW FIRM
  Hagadone, David & Kathy     1:16-cv-00548       BRANCH LAW FIRM
  Ogden, Judith               1:16-cv-00551       BRANCH LAW FIRM
  Scott, Olanda               1:16-cv-00552       BRANCH LAW FIRM
  Hawes, Michael A.           1:16-cv-00809       HAUSFELD, LLP
  Valvo, Heather & Mike       1:16-cv-01285       GIRARDI KEESE
  Mills, Lois N.              1:16-cv-01614       GIRARDI KEESE
  Quinones, Edwin             1:16-cv-01635       GIRARDI KEESE
  Taubler, Samuel Joseph &    1:16-cv-01640       GIRARDI KEESE
  Debra
  Ray, Richard                1:16-cv-01848       FEARS NACHAWATI, PLLC
  Heise, Charles & Barbara    1:16-cv-01937       LOWE LAW GROUP
  Skehan, Robert & Eunice     1:16-cv-02045       KEANE LAW LLC
  Middlebrooks, Shameicka     1:16-cv-02149       KIRKLIN SOH, LLP
  Holmes, Patricia            1:16-cv-02172       ANDRUS WAGSTAFF, PC
  King, Crystal D.            1:16-cv-02225       ZONIES LAW LLC
  Cunningham, James Richard   1:16-cv-02279       PIERCE SKRABANEK BRUERA, PLLC
  & Angela Jeanne
  Simpson, Carmen & David     1:16-cv-02290       HENINGER GARRISON DAVIS, LLC

  Rollman, Nichole Rae        1:16-cv-02317       LAW OFFICES OF HENRY S.
                                                  QUEENER, III
  Davidson, Ervin Eugene &    1:16-cv-02321       LAW OFFICES OF HENRY S.
  Peggy Ann                                       QUEENER, III


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  Ogle, Dotsy                    1:16-cv-02326       LAW OFFICES OF HENRY S.
                                                     QUEENER, III
  Nelsen, Rosalee                1:16-cv-02328       LAW OFFICES OF HENRY S.
                                                     QUEENER, III
  Catchings, Fernita             1:16-cv-02382       GRAY & WHITE LAW
  Major, Marilyn                 1:16-cv-02383       GRAY & WHITE LAW
  Ross, Cassandra                1:16-cv-02385       GRAY & WHITE LAW
  Beal, Charles                  1:16-cv-02390       LAW OFFICES OF HENRY S.
                                                     QUEENER, III
  Stephens, Donna Grace          1:16-cv-02393
  Thomson, Scott & Cheryl        1:16-cv-02410       RHEINGOLD GIUFFRA RUFFO &
                                                     PLOTKIN, LLP
  Hopkins, Ronald                1:16-cv-02656       LOWE LAW GROUP
  Contreras, Amanda              1:16-cv-02693       MORRIS LAW FIRM
  Smith, Slater                  1:16-cv-02899       GRAY & WHITE LAW
  Hines, James D.                1:16-cv-03135       STATHIS & LEONARDIS, LLC
  Wynkoop, Shannon               1:16-cv-03406       DALIMONTE RUEB LAW GROUP, LLP

  Dukes, Shirley                 1:16-cv-03443       PHELAN PETTY, PLC
  Irving, John F.                1:16-cv-03468       KEITH, MILLER, BUTLER,
                                                     SCHNEIDER & PAWLIK
  Thomas, Mary (GA)              1:16-cv-03521       THE LUKE LAW FIRM
  Hayes, Deandre & Shaynna       1:16-cv-06032       DIDRIKSEN LAW FIRM PLC
  Lanzer, Jodi                   1:17-cv-00069       GRAY & WHITE LAW
  Cornew, John                   1:17-cv-00143       ROXELL RICHARDS LAW FIRM
  Slobodjian, Eric J.            1:17-cv-00218       KIRKENDALL DWYER LLP
  Duffy, Elizabeth & Gary        1:17-cv-00254       ROXELL RICHARDS LAW FIRM
  Keltee, Rogers William         1:17-cv-00303       GRAY & WHITE LAW
  Gonzales, Caroline & Jose J.   1:17-cv-00337       AYLSTOCK, WITKIN, KREIS &
                                                     OVERHOLTZ, PLLC
  Odom, Ethel                    1:17-cv-00388       KIRKENDALL DWYER LLP
  Elazab, Bonnie                 1:17-cv-00417       THOMAS B. CALVERT, A
                                                     PROFFESSIONAL LAW
                                                     CORPORATION
  Governale, Edna                1:17-cv-00420       RHEINGOLD GIUFFRA RUFFO &
                                                     PLOTKIN, LLP
  Papierski, Chester             1:17-cv-00434       GRAY & WHITE LAW
  Cremeans, Daris                1:17-cv-00455       FULMER SILL
  Kratochvil, Barbie Lynn        1:17-cv-00457       FULMER SILL
  Stafford, Sheila               1:17-cv-00458       FULMER SILL
  Million, James                 1:17-cv-00530       KIRKENDALL DWYER LLP
  Dodd, Helene [ESTATE]          1:17-cv-00537       WARNER LAW OFFICES, PLLC
  Parker, David                  1:17-cv-00692       DOUGLAS, HAUN & HEIDEMANN,

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                                                  P.C.

  Okolish, Frank J.           1:17-cv-00800       FITTS LAW FIRM, PLLC
  Halley, Belinda Sue         1:17-cv-00971       PIERCE SKRABANEK BRUERA, PLLC

  Anders, Joseph Keith        1:17-cv-01327       BOWERSOX LAW FIRM, P.C.
  Williams, Oritsematosan     1:17-cv-01347       MCEWEN LAW FIRM LTD
  [ESTATE]
  Moore, Seth                 1:17-cv-01358       EXCOLO LAW PLLC
  Phillips, Ricky T.          1:17-cv-01456       KIRKENDALL DWYER LLP
  Kenyon, Patrick             1:17-cv-01479       LOPEZ MCHUGH LLP
  Mooney, Carol Ann           1:17-cv-01551       RHEINGOLD GIUFFRA RUFFO &
                                                  PLOTKIN, LLP
  Beard, Pamela               1:17-cv-01559       FITTS LAW FIRM, PLLC
  Neuhart, Pandora            1:17-cv-01588       JTB LAW GROUP, LLC
  Craig, Joshua Rich          1:17-cv-01697       MORRIS//ANDERSON
  Morris, Kathleen            1:17-cv-01806       ROXELL RICHARDS LAW FIRM
  Perdue, Mark J.             1:17-cv-01820       EXCOLO LAW PLLC
  McNally, Rose Bennett       1:17-cv-01853       SARANGI LAW, LLC
  Smith, Sandy A.             1:17-cv-01854       SARANGI LAW, LLC
  Fliestra, Stephanie         1:17-cv-02239       FITTS LAW FIRM, PLLC
  Sollo, Florence             1:17-cv-02269       JACKSON ALLEN & WILLIAMS, LLP

  Spindle, Linwood            1:17-cv-02334       FARRIS, RILEY, & PITT, L.L.P
  Baker, Jada                 1:17-cv-02435       KEITH, MILLER, BUTLER,
                                                  SCHNEIDER & PAWLIK
  Shockley, Saleea C.         1:17-cv-02611       FULMER SILL
  Medeiros, Edward            1:17-cv-02670       JTB LAW GROUP, LLC
  Parker, Betty L. [ESTATE]   1:17-cv-02715       PIERCE SKRABANEK BRUERA, PLLC

  Bain, Betty                 1:17-cv-03085       MILSTEIN JACKSON FAIRCHILD &
                                                  WADE, LLP
  Paciocco, Louis V.          1:17-cv-03100       FINE LAW FIRM
  Cummings, Kennith           1:17-cv-03311       DAVIS BETHUNE & JONES, LLC
  Wood, Margaret              1:17-cv-03317       RICHARD J. PLEZIA & ASSOCIATES

  Aberman, Brenda             1:17-cv-03341       RICHARD J. PLEZIA & ASSOCIATES

  McCain, Stephanie Lanita    1:17-cv-03969       WARNER LAW OFFICES, PLLC
  Rodriguez, Alma             1:17-cv-04171       MORRIS//ANDERSON
  Craft, Kristi               1:17-cv-04200       MORRIS//ANDERSON
  Auerbach, Benjamin          1:17-cv-04218       RHEINGOLD GIUFFRA RUFFO &
                                                  PLOTKIN, LLP
  Sylvain, Perry              1:17-cv-04339       MORRIS//ANDERSON

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  Vaughan, Larry John Jr.      1:17-cv-04340       MORRIS//ANDERSON
  Cooper, James                1:17-cv-04345       MORRIS//ANDERSON
  Hayden, James & Carol        1:17-cv-04443       THORNTON LAW FIRM LLP
  Goodrow, Netitia             1:17-cv-04692       GUAJARDO & MARKS, LLP
  Mattingly, John              1:17-cv-04708       ANDRUS WAGSTAFF, PC
  King, Martrie [ESTATE]       1:17-cv-06069       THE DRISCOLL FIRM, P.C.
  Foley, Maureen A.            1:17-cv-06074       SUSAN E. LOGGANS & ASSOCIATES,
                                                   P.C.
  Sauls, Lillie                1:18-cv-00081       THE SPENCER LAW FIRM
  Cochran, Teresita            1:18-cv-00098       VAN WEY LAW, PLLC
  French, Darin                1:18-cv-00103       VAN WEY LAW, PLLC
  Keeler, Travis               1:18-cv-00223       KRAUSE & KINSMAN, LLC
  Trepus, Marvin               1:18-cv-00412       PIERCE SKRABANEK BRUERA, PLLC

  Walker, Teresa               1:18-cv-00516       KEITH, MILLER, BUTLER,
                                                   SCHNEIDER & PAWLIK
  Hightower, Oscar             1:18-cv-00568       NELSON BUMGARDNER, P.C.
  Wills, Tammy and Gregory     1:18-cv-00569       NELSON BUMGARDNER, P.C.
  Schermerhorn, Arthur         1:18-cv-00647       MORRIS//ANDERSON
  Wayne and Andrena
  Milke, Theresa [ESTATE       1:18-cv-00675       SEIDMAN MARGULIS & FAIRMAN,
  OF]                                              LLP
  Helmer, Elizabeth            1:18-cv-00978       KRAUSE & KINSMAN, LLC
  Zart, Frank J.               1:18-cv-01461       GOLDBERG & OSBORNE LLP
  Schatzman, Galen Page        1:18-cv-01833       MORRIS//ANDERSON
  Stewart, Carmen              1:18-cv-01840       THE MONSOUR LAW FIRM
  Davis, Betsy                 1:18-cv-01879       KIRKENDALL DWYER LLP
  Cornin-Simeon, Pamela        1:18-cv-01916       GUAJARDO & MARKS, LLP
  Hayes, Kevin S. and Eva      1:18-cv-01996       GOLDBERG & OSBORNE LLP
  Jones, Richard and Deborah   1:18-cv-02150       REICH & BINSTOCK, LLP
  Marchionne, Mark             1:18-cv-02245       REICH & BINSTOCK, LLP
  Galvez, Christopher          1:18-cv-02309       JOHNSON LAW GROUP
  Pezzotti, Lillian            1:18-cv-02326       MORRIS LAW FIRM
  Gil, Nilda                   1:18-cv-02498       RHEINGOLD GIUFFRA RUFFO &
                                                   PLOTKIN, LLP
  O'Brien, Nicki               1:18-cv-02500       KIRKENDALL DWYER LLP
  Cullum, Troy [ESTATE OF]     1:18-cv-02739       DI PIETRO PARTNERS, LLP
  Oakley, Talisha              1:18-cv-02837       GUAJARDO & MARKS, LLP
  Steele, Charlene             1:18-cv-02995       O'LEARY, SHELTON, CORRIGAN,
                                                   PETERSON, DALTON & QUILLIN, LLC

  Cropp, Benjamin Jr.          1:18-cv-03003       KIRKENDALL DWYER LLP


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  Peters, Angela           1:18-cv-03094       LEVY BALDANTE FINNEY &
                                               RUBENSTEIN, PC
  Reese, Beth              1:18-cv-03520       DI PIETRO PARTNERS, LLP
  Kay, Christine           1:18-cv-06089       EASTON & EASTON, LLP




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 _________________________________________

 IN RE: COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES AND                     Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                      MDL No. 2570



                                         EXHIBIT B

   SCHEDULE OF PLAINTIFFS THAT HAVE FAILED TO PRODUCE RECORDS IN
              SUPPORT OF THEIR CATEGORIZATION FORM


              Plaintiff               Cause Number               Lead Counsel
  Evans, Charles                    1:15-cv-01604        CURTIS LAW GROUP
  Cook, Sharon                      1:15-cv-01605        CURTIS LAW GROUP
  Booth, Kenneth D. [ESTATE]        1:15-cv-06027        THE MILLER FIRM LLC
  Williams, Gregory                 1:16-cv-01163        GOMEZ TRIAL ATTORNEYS
  Breniman, Daryl                   1:16-cv-01252        SHAW COWART, LLP
  Trahan, Terry & Rene Jr.          1:16-cv-01318        THE MILLER FIRM LLC
  Jolley, Jevon                     1:16-cv-01534        THE MILLER FIRM LLC
  Hogan, Evita                      1:16-cv-01762        THE MILLER FIRM LLC
  Anger, Charles & Marilyn          1:16-cv-01767        BACHUS & SCHANKER, LLC
  Scott, Darel & Goldie             1:16-cv-01771        BACHUS & SCHANKER, LLC
  Payne, Bobbie & William T., Jr.   1:16-cv-01801        RILEY WILLIAMS & PIATT, LLC
  Brown, Cooper                     1:16-cv-02350        SHAW COWART, LLP
  Taylor, Mary                      1:16-cv-02469        THE TUTTLE LAW FIRM
  Horton, Wallace                   1:16-cv-02505        BACHUS & SCHANKER, LLC
                                                         LAW OFFICES OF HOWARD A.
  Green, Mickie A.                  1:16-cv-02713        SNYDER
  Gomez, Gabriel                    1:16-cv-02949        BACHUS & SCHANKER, LLC
  Gilbert, LaVerne & Joseph         1:16-cv-02951        BACHUS & SCHANKER, LLC
  Luscomb, Joann                    1:16-cv-02953        BACHUS & SCHANKER, LLC
  Martin, Patrick & Nelson,
  Marchell                          1:16-cv-02954        BACHUS & SCHANKER, LLC
  Staten, Dave                      1:16-cv-02956        BACHUS & SCHANKER, LLC
  Hagins, Harold V. Jr.             1:16-cv-03089        SHAW COWART, LLP
  McCall, Kenda                     1:16-cv-03253        BACHUS & SCHANKER, LLC

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  Dyer, Earlene R.             1:16-cv-03299   SHAW COWART, LLP
  Hernandez, Timothy Ryan      1:16-cv-03433   MURRAY LAW FIRM
  Duquette, David              1:17-cv-00020   THE MILLER FIRM LLC
                                               THE GALLAGHER LAW FIRM
  Peacock, Robin               1:17-cv-00159   PLLC
  Pierite, Harold              1:17-cv-00357   ANDRUS WAGSTAFF, PC
  Dickens, Matthew             1:17-cv-01239   THE MILLER FIRM LLC
  Kidder, Barbara              1:17-cv-01705   THE MILLER FIRM LLC
  Lewis, Lois D.               1:17-cv-01728   ANDRUS WAGSTAFF, PC
  Ohler, Albert                1:17-cv-01753   THE MILLER FIRM LLC
  Parsons, James               1:17-cv-01754   THE MILLER FIRM LLC
  Robinson, Jason              1:17-cv-01773   THE MILLER FIRM LLC
  Steele, Michael              1:17-cv-01774   THE MILLER FIRM LLC
  Williams, Amy                1:17-cv-01790   THE MILLER FIRM LLC
                                               BUBALO GOODE SALES &
  Hanna, Sandra A.             1:17-cv-02173   BLISS, PLC
  Roy, Susan and Michael       1:17-cv-02179   BROWN & CROUPPEN, P.C.
                                               LAW OFFICE OF CHRISTOPHER
  Ingram, Shante S.            1:17-cv-02343   K. JOHNSTON, LLC
  Crabill, Linda               1:17-cv-02405   SHAW COWART, LLP
  Robinson, Robert (GT 2623)   1:17-cv-02623   CURTIS LAW GROUP
                                               RICHARD J. PLEZIA &
  Anderson, Timothy            1:17-cv-02667   ASSOCIATES
                                               RICHARD J. PLEZIA &
  Ojeda, Aldeheid              1:17-cv-02703   ASSOCIATES
                                               RICHARD J. PLEZIA &
  Williams, Joyce              1:17-cv-02776   ASSOCIATES
  Brady, Randall E. Sr.        1:17-cv-02793   MOTLEY RICE LLC
  Miller, Marissa              1:17-cv-02880   ANDRUS WAGSTAFF, PC
  George, David E.             1:17-cv-02957   BERTRAM & GRAF, L.L.C.
  Grove, Annetta               1:17-cv-02987   DAVIS BETHUNE & JONES, LLC
                                               SKIKOS CRAWFORD SKIKOS &
  Griffin, Shirley             1:17-cv-03120   JOSEPH, LLP
  Laufer, Daniel               1:17-cv-03163   ANDRUS WAGSTAFF, PC
  Stewart, John                1:17-cv-03318   DAVIS BETHUNE & JONES, LLC
  Green, Judith                1:17-cv-03477   THE MILLER FIRM LLC
  Dixon, Patricia              1:17-cv-03495   CELLINO & BARNES, P.C.
  Matoushek, Ann and Robert    1:17-cv-03563   CELLINO & BARNES, P.C.
                                               RICHARD J. PLEZIA &
  Pauley, Tressa               1:17-cv-03577   ASSOCIATES
  Caynor, Rhonda               1:17-cv-03651   GOMEZ TRIAL ATTORNEYS
  Orszulak, Ronald S.          1:17-cv-04031   CELLINO & BARNES, P.C.
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  Ziaja, Paul                1:17-cv-04097      CURTIS LAW GROUP
  Sarkisian, Zvart           1:17-cv-04607      CELLINO & BARNES, P.C.
                                                RICHARD J. PLEZIA &
  Nunn, Chris                1:18-cv-00088      ASSOCIATES
  Garcia, Jorge              1:18-cv-00113      CURTIS LAW GROUP
                                                LAW OFFICE OF CHRISTOPHER
  Powers, Mark               1:18-cv-00235      K. JOHNSTON, LLC
  Feather, Richard T.        1:18-cv-00405      CELLINO & BARNES, P.C.
  Melton, Kenneth            1:18-cv-00567      THE MILLER FIRM LLC
                                                LAW OFFICE OF CHRISTOPHER
  Hudson, Lue Ethel          1:18-cv-00921      K. JOHNSTON, LLC
                                                MCGLYNN, GLISSON &
  Hendrix, Fred              1:18-cv-00930      MOUTON
  Rose, Justin               1:18-cv-01410      SNYDER AND WENNER, P.C.
  Blair, Jr., Pearlie        1:18-cv-01438      BERTRAM & GRAF, L.L.C.
  Hood, Charlene             1:18-cv-01825      CURTIS LAW GROUP
  Vasquez, Jeanette          1:18-cv-01865      CURTIS LAW GROUP
  Wendt, William             1:18-cv-03283      THE MILLER FIRM LLC
  Scott, Roy and Helen V.    1:18-cv-03559      FEARS NACHAWATI, PLLC




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